Case 2:18-cv-11089-AJT-APP ECF No. 26 filed 03/18/19      PageID.304   Page 1 of 16




                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION

FRIDA MARKO,
                                              Case No. 2:18-cv-11089
                   Plaintiff,                 District Judge Arthur J. Tarnow
v.                                            Magistrate Judge Anthony P. Patti

WILLIAM P. BARR, et al.,

               Defendants.
__________________________/

    OPINION AND ORDER GRANTING IN PART AND DENYING IN PART
    PLAINTIFF’S NOVEMBER 2, 2018 MOTION TO COMPEL (DE 14), AS
      NARROWED BY THE JOINT STATEMENT OF RESOLVED AND
                   UNRESOLVED ISSUES (DE 25)

I.     OPINION

       A.    Background

       Frida Marko applied for naturalization and appeared for an interview on or

about June 15, 2017. On September 14, 2017, the United States Citizenship and

Immigration Services (USCIS) denied her application. (DE 1 ¶¶ 12-14; DE 1-1,

Form N-400.)

       Ms. Marko requested a hearing and appeared for her interview on or about

December 6, 2017; however, the USCIS re-affirmed its decision on December 6,

2017. (DE 1 ¶¶ 18-21; DE 1-2, Form N-336.) As the government Defendants

would later explain, “[w]hile the September 2017 N-400 denial contains some


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Case 2:18-cv-11089-AJT-APP ECF No. 26 filed 03/18/19       PageID.305    Page 2 of 16




factual errors, USCIS’s December 2017 decision denying Plaintiff’s N-336

application sets forth in detail the factual and legal bases for USCIS’s conclusion

that Plaintiff was not lawfully admitted for permanent residence.” (DE 16 at 18.)

      On April 4, 2018, Ms. Marko filed this lawsuit, seeking declaratory and

injunctive relief and a hearing on her naturalization application, the bases of which

are alleged violations of the Immigration and Nationality Act (INA) and the

Administrative Procedure Act (APA). (DE 1.) The May 30, 2018 scheduling

order sets the discovery motion deadline for November 2, 2018 and the discovery

deadline for December 3, 2018. (DE 10.)

      B.     Instant Motion

      Currently before the Court is Plaintiff’s November 2, 2018 motion to compel

discovery as to: (1) redacted documents; (2) notes from USCIS Officers Brandee

Pryor, Batol Makki, and Walla Najor; and, (3) Officer Pryor’s non-responses to

certain questions. (DE 14.) This motion stems in part from Plaintiff’s August 31,

2018 request for production of documents. (DE 14-1 at 1-11.)

      Defendants have filed a response, which reflects that they “produced

Plaintiff’s entire A-file [alien file], totaling nearly 300 pages of documents.” (DE

16 at 9.) Defendants’ October 1, 2018 document production included 14 fully

redacted documents and 13 partially redacted documents. (Id.) Government

counsel provided an updated privilege log on November 2, 2018. (DE 16 at 9-10,


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Case 2:18-cv-11089-AJT-APP ECF No. 26 filed 03/18/19         PageID.306    Page 3 of 16




DE 16-4.) Plaintiff has filed a reply, in which she explains, inter alia, that she is

“not requesting any secrets, only factual information and evidence about the

Plaintiff and her immigration history.” (DE 17 at 3.)

      Judge Tarnow referred this motion to me for hearing and determination. A

hearing was originally noticed for December 18, 2018, although it was twice re-

noticed, in one case due to the partial government shutdown. (DEs 18-20.) I held

a hearing on February 21, 2019, at which Attorneys Carrah L. Crofton and T.

Monique Peoples appeared. (DE 24.)

      C.     Narrowed Issues

      Oral argument focused on the issues as narrowed in the joint statement of

resolved and unresolved issues, namely Defendants’ continued assertion of

privilege over six documents, comprised of 24 pages: (1) MARKO00017-19

(database report); (2) MARKO00020-24 (database report); (3) MARKO00236-239

(USCIS adjudicator notes); (4) MARKO00243-244 (database record); (5)

MARKO00246-250 (database record); and, (6) MARKO00253-257 (USCIS

interoffice memo). (DE 25.)

      Plaintiff’s counsel admitted at oral argument that she did not avail herself of

the opportunity to ask “who, what, when, where, how and why” foundational

questions regarding these documents during the officers’ October 22, 2018

depositions, i.e., following the initial production of documents. (DE 16 at 9, DE


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Case 2:18-cv-11089-AJT-APP ECF No. 26 filed 03/18/19       PageID.307    Page 4 of 16




16-5, DE 16-6.) Moreover, while Plaintiff eventually served Pryor with post-

deposition interrogatories (on November 8, 2018), she did not use requests for

admission to obtain the factual information sought here by her motion to compel.

(DE 16-7.) Thus, Plaintiff does not present the Court with much of a contextual

record in support of her privilege challenge.

      D.     Discussion

             1.    The database reports and records (MARKO00017-19,
                   MARKO00020-24, MARKO00243-244, MARKO00246-250)

                   a.     The law enforcement privilege

      The law enforcement privilege preserves the government's ability to

“withhold from disclosure the identity of persons who furnish to law enforcement

personnel information concerning violations of the law.” Holman v. Cayce, 873

F.2d 944, 946 (6th Cir. 1989) (citing Roviaro v. United States, 353 U.S. 53, 59

(1957) and 8 C. Wright & A. Miller, Federal Practice and Procedure § 2019

(1970)). To invoke the law enforcement investigatory privilege, “three

requirements must be met:

      (1)    there must be a formal claim of privilege by the head of the
             department having control over the requested information;
      (2)    assertion of the privilege must be based on actual personal
             consideration by that official; and
      (3)    the information for which the privilege is claimed must be
             specified, with an explanation why it properly falls within the
             scope of the privilege.



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Case 2:18-cv-11089-AJT-APP ECF No. 26 filed 03/18/19       PageID.308    Page 5 of 16




Moody v. Michigan Gaming Control Bd., No. 12-CV-13593, 2013 WL 3013862, at

*4 (E.D. Mich. June 18, 2013) (Drain, J.) (citing In re Sealed Case, 856 F.2d 268,

271 (1988)).

                   b.     Assertions of the law enforcement privilege

      Defendants assert the law enforcement privilege as to: (i) the June 15, 2017

Customs and Border Protection (CBP) Arrival and Departure System

(MARKO00017-19); (ii) the June 15, 2017 CBP Computer Linked Application

Information Management System (CLAIMS) (MARKO00020-24); (iii) the June 6,

2017 USCIS TECS ROIT (MARKO00243-244); and, (iv) the June 8, 2017 CBP

TECS (MARKO00246-250). (See DE 16-4 at 2.)

      In his November 5, 2018 declaration, USCIS Great Lakes District Director

Mirash Dedvukaj explains that: “The withholdings are limited and narrowly

tailored to only that information that is privileged.” (DE 16-9 at 3 ¶ 4.) Frankly,

the Court finds this statement to be vague and conclusory. Nonetheless, the Court

is persuaded by Defendants’ argument that “The Law Enforcement Privilege

Protects Documents that Reveal DHS’s Law Enforcement Techniques and

Procedures.” (DE 16 at 25-28.) In addition to describing each of these 4 items, the

government Defendants explain:

      For the most part, these records indicate and identify the particular
      security and background checks and screenings pertaining to Plaintiff.
      Releasing this information would disclose DHS’s law enforcement
      techniques and could allow potential violators to develop strategies to
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Case 2:18-cv-11089-AJT-APP ECF No. 26 filed 03/18/19        PageID.309    Page 6 of 16




      circumvent those techniques, thereby risking the integrity of ongoing
      investigations.

(DE 16 at 27.)

      Plaintiff challenges the database reports and records as containing “factual

material, even if it is in ‘report’ or ‘memo’ form,” and also appears to question

whether Defendants’ descriptions of these items warrant the protection they assert.

(DE 17 at 3.) However, even though each of the cases upon which Defendants rely

concerns the Freedom of Information Act (FOIA), the Court nonetheless finds

them persuasive. Strunk v. U.S. Dep't of State, 905 F. Supp. 2d 142, 148 (D.D.C.

2012) (TECS “is ‘a fundamental law enforcement tool,’ for which, ‘there is a great

need to defend ... against any threatened or real risk of threat or compromise[.]’”),

Bishop v. U.S. Dep't of Homeland Sec., 45 F. Supp. 3d 380, 384, 386-394

(S.D.N.Y. 2014) (regarding documents from either CBP's “TECS” computer

system or CBP's Automated Targeting System (“ATS”) database). (DE 16 at 28.)

In the absence of case law stating otherwise, I conclude that the database records

and reports described above are entitled to protection.

             2.    The July 21, 2017 USCIS Interoffice Memorandum
                   (MARKO00253-257) and the USCS N-336 Processing
                   Worksheet Adjudicator interview notes (MARKO00236-
                   239)

                   a.     Deliberative process privilege




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Case 2:18-cv-11089-AJT-APP ECF No. 26 filed 03/18/19       PageID.310    Page 7 of 16




      The deliberative process privilege protects “documents reflecting advisory

opinions, recommendations and deliberations comprising part of a process by

which governmental decisions and policies are formulated.” NLRB v. Sears,

Roebuck & Co., 421 U.S. 132, 149 (1974). “The primary purpose served by the

deliberative process privilege is to encourage candid communications between

subordinates and superiors.” Schell v. U.S. Dep't of Health & Human Servs., 843

F.2d 933, 939 (6th Cir. 1988). “The deliberative process privilege rests on the

obvious realization that officials will not communicate candidly among themselves

if each remark is a potential item of discovery and front page news, and its object

is to enhance ‘the quality of agency decisions’...by protecting open and frank

discussion among those who make them within the government.” Dep't of Interior

& Bureau of Indian Affairs v. Klamath Water Users Protective Ass'n, 532 U.S. 1, 9

(2001).

      The privilege, however, is not absolute and is narrowly construed. Gen.

Motors Corp. v. United States, No. 07-14464, 2009 WL 5171807, at *1 (E.D.

Mich. Dec. 23, 2009) (Roberts, J.). Here, I am informed by an oft-cited decision

which reflects upon “sources of confusion in analysis of assertions of privilege by

law enforcement agencies,” in part, as follows:

      Similarly, courts could apply the “deliberative process” privilege to
      most kinds of information generated by police departments only if
      they are willing to stretch, in some instances almost beyond
      recognition, the policy rationale that supports that privilege. As
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Case 2:18-cv-11089-AJT-APP ECF No. 26 filed 03/18/19         PageID.311    Page 8 of 16




      originally developed, the deliberative process privilege was designed
      to help preserve the vigor and creativity of the process by which
      government agencies formulate important public policies. See, e.g.,
      Branch v. Phillips Petroleum Co., 638 F.2d 873, 881–82 (5th Cir.
      1981). The principal idea that inspires the privilege is that the people
      who contribute to policy formulation will be less afraid to offer honest
      (albeit painful) analyses of current and contemplated policies, and will
      be less shy about suggesting bold, creative (and sometimes
      hairbrained) policy alternatives, if they know that their work is not
      likely to be disclosed to the public. As I will suggest below, it is not at
      all clear to me that the basic assumption that informs this body of law
      is well-made. For present purposes, however, the point is this: the
      rationale that supports this privilege should fix the limits of its reach.
      The “deliberative process” privilege should be available only to
      communications that contribute to a deliberative process.

Kelly v. City of San Jose, 114 F.R.D. 653, 658–59 (N.D. Cal. 1987) (Brazil, M.J.)

(emphases in original). In addition, as described more recently by our Court of

Appeals:

      To come within [the] deliberative process privilege, a document must
      be both “predecisional,” meaning it is “received by the decisionmaker
      on the subject of the decision prior to the time the decision is made,”
      and “deliberative,” the result of the consultative process. Although
      this privilege covers recommendations, draft documents, proposals,
      suggestions, and other subjective documents that reflect the opinions
      of the writer rather than the policy of the agency, the key issue in
      applying this exception is whether disclosure of the materials would
      expose an agency's decisionmaking process in such a way as to
      discourage discussion within the agency.

Rugiero v. Dep't of Justice, 257 F.3d 534, 550 (6th Cir. 2001) (internal quotations

and citations omitted).

                   b.     Assertions of the deliberative process privilege



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Case 2:18-cv-11089-AJT-APP ECF No. 26 filed 03/18/19         PageID.312     Page 9 of 16




      Defendants assert the deliberative process privilege as to two items: (i) the

USCS N-336 Processing Worksheet Adjudicator interview notes (MARKO00236-

239), which it describes as “handwritten notes taken by Batol Makki during

Plaintiff’s N-336 interview[,]” which appears to have occurred on December 6,

2017; and, (ii) the five-page July 21, 2017 USCIS Interoffice Memorandum

(MARKO00253- 257), which it describes as:

      . . . a two-page USCIS interoffice memo from Brandee Pryor, the
      USCIS officer who adjudicated Plaintiff’s N-400, to an N-400 Review
      Panel. The document also includes a three-page attachment prepared
      by Ms. Pryor that has a timeline of certain dates and events that she
      deemed relevant and her analyses concerning Plaintiff’s N-400 and
      recommendations for future agency action[;]

(DE 16 at 21, 23; DE 16-4 at 2; see also DE 1 ¶¶ 19-21, DE 16 at 20-25.) In his

November 5, 2018 declaration Dedvukaj explains that: “The notes and the memo

involve internal agency deliberation as it relates to the facts of the case, and the

proper means to apply the controlling law and agency policy in the adjudication of

Plaintiff’s applications.” (DE 16-9 at 3 ¶ 5.)

      In reply, Plaintiff notes her “reason to believe factual information related to

the reasons for the denial decisions are contained in Officer Pryor’s memo and

Officer Makki’s notes, which Defendant claims were taken contemporaneously at

the time of the N-336 interview.” (DE 17 at 2.)

                           (i)    Interview notes (MARKO00236-239)



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Case 2:18-cv-11089-AJT-APP ECF No. 26 filed 03/18/19          PageID.313   Page 10 of 16




       Plaintiff deposed Makki on October 22, 2018, and Makki testified that she

 took notes during the N-336 interview. (DE 16 at 10, DE 16-6 at 6-7; see also DE

 14-1 at 17-21.) According to Defendants, “Ms. Makki’s handwritten notes contain

 various questions posed and answers provided during the interview, and reflect her

 deliberation on how certain facts pertain to Plaintiff’s N-400.” (DE 16 at 21.)

 Defendants contend that “Ms. Makki’s handwritten N-336 interview notes reveal

 the information that she deemed pertinent to extract from a larger universe of facts

 and reflect her judgment on the issues she found relevant to Plaintiff’s N-336.

 Because her notes are both pre-decisional and deliberative, they are clearly

 protected.” (DE 16 at 22.) Plaintiff contends that the notes “only contain[s]

 factual information about the Plaintiff, what was said during her interview, and

 what is contained in her alien file . . . .” (DE 17 at 5.)

       At least one court has noted that “interview notes and summaries are

 routinely found to be subject to Exemption 5[,]” i.e., “inter-agency or intra-agency

 memorandums or letters that would not be available by law to a party other than an

 agency in litigation with the agency, provided that the deliberative process

 privilege shall not apply to records created 25 years or more before the date on

 which the records were requested[.]” Hardy v. Bureau of Alcohol, Tobacco,

 Firearms & Explosives, 243 F. Supp. 3d 155, 169 (D.D.C. 2017), 5 U.S.C. §

 552(b)(5). However, Defendants’ reliance upon Phillips v. Immigration &


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Case 2:18-cv-11089-AJT-APP ECF No. 26 filed 03/18/19         PageID.314    Page 11 of 16




 Customs Enf't, 385 F. Supp. 2d 296 (S.D.N.Y. 2005) and Abramyan v. United

 States Dep't of Homeland Sec., 6 F. Supp. 3d 57, 66-67 (D.D.C. Dec. 4, 2013) is

 overshadowed by the treatment of these cases, respectively, in Martins v. United

 States Citizenship & Immigration Servs., 962 F. Supp. 2d 1106, 1123 n. 9 (N.D.

 Cal. July 3, 2013) (“other, similarly non-binding authority has come out the other

 way with respect to the applicability of the deliberative process privilege to

 “factual” portions of interview notes . . . .”) and Gatore v. United States Dep't of

 Homeland Sec., 177 F. Supp. 3d 46, 53 (D.D.C. 2016) (“The defendant’s motion

 for summary judgment shall therefore be denied without prejudice subject to the

 filing of updated Vaughn submissions.”).

       More to the point, as Plaintiff points out, “‘the key issue in applying this

 exception is whether disclosure of the materials would expose an agency's

 decisionmaking process in such a way as to discourage discussion within the

 agency.’” Campbell v. Mack, No. 16-CV-12922, 2017 WL 5150883, at *5 (E.D.

 Mich. Nov. 7, 2017) (Majzoub, M.J.) (quoting Rugiero v. Dep't of Justice, 257

 F.3d 534, 550 (6th Cir. 2001)), objections overruled, No. 16-CV-12922, 2017 WL

 6174628 (E.D. Mich. Dec. 8, 2017) (Leitman, J.). (DE 17 at 3.) On or about

 February 22, 2019, government counsel provided copies of the USCS N-336

 Processing Worksheet Adjudicator interview notes (MARKO00236-239) to this

 Court for in camera review. (DE 16 at 20-22.) Having reviewed these notes, the


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Case 2:18-cv-11089-AJT-APP ECF No. 26 filed 03/18/19                                 PageID.315   Page 12 of 16




 Court concludes that the information therein is entirely factual and is basically a

 recitation of what was asked and what was said in Plaintiff’s interview. They do

 not appear to expose the Agency’s decision-making process, nor do they appear to

 be deliberative. In other words, “because this document is comprised of factual

 material, namely summaries of the evidence gathered in the investigation, it is not

 protected by the deliberative process privilege.” Campbell, 2017 WL 5150883, at

 *6 (referencing Frankenhauser v. Rizzo, 59 F.R.D. 339, 344-346 (E.D. Pa. 1973)).1

               As such, there is no need to consider whether the factual information is

 segregable from the deliberative impressions. If the government Defendants are

 going to proffer facts from the USCIS interview upon which the Agency will

 justify its decision to deny naturalization, Plaintiff should have the opportunity to

 challenge the accuracy of those facts and impeach Officer Makki on any

 inconsistencies between her testimony and her contemporaneous notes.

                                                            (ii)   Memorandum (MARKO00253- 257)

               According to Defendants, the July 21, 2017 memo and its attachment

 “reflect[] the position taken by certain USCIS counsel and supervisors on the


                                                             
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  Although Frankenhauser has been the subject of some negative treatment, this
 Court has acknowledged that “Other courts use the identical test set forth in
 Frankenhauser v. Rizzo, 59 F.R.D. 339, 344 (E.D. Pa. 1973), superseded on other
 grounds by rule change as recognized by Crawford v. Dominic, 469 F. Supp. 260
 (E.D. Pa. 1979).” Hamama v. Adducci, No. 17-CV-11910, 2018 WL 2445042, at
 *3 n.1 (E.D. Mich. May 31, 2018). 
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Case 2:18-cv-11089-AJT-APP ECF No. 26 filed 03/18/19         PageID.316     Page 13 of 16




 issues raised in Ms. Pryor’s memo.” (DE 16 at 23 (emphasis added).) The

 government Defendants argue that “[t]he entire USCIS interoffice memo is

 quintessentially deliberative.” (Id.) The Court is persuaded by Defendants’ related

 argument. (See DE 16 at 23-25.) See also, e.g., Schell v. U.S. Dep't of Health &

 Human Servs., 843 F.2d 933, 942 (6th Cir. 1988) (“‘a document from a

 subordinate to a superior official is more likely to be predecisional, while a

 document moving in the opposite direction is more likely to contain instructions to

 staff explaining the reasons for a decision already made.’”) (quoting Coastal States

 Gas Corp. v. Dep't of Energy, 617 F.2d 854, 868 (D.C. Cir. 1980)); Ancient Coin

 Collectors Guild v. U.S. Dep't of State, 641 F.3d 504, 513 (D.C. Cir. 2011)

 (“CPAC [Cultural Property Advisory Committee] reports are properly withheld

 under Exemption 5 insofar as they are ‘inter-agency or intra-agency memorandums

 or letters’ that are deliberative and pre-decisional.”) (citing 5 U.S.C. § 552(b)(5)).

       Even if the July 21, 2017 memo concerning Plaintiff’s N-400 application

 “highlights certain facts that Ms. Pryor culled from her review of Plaintiff’s file

 and interview with Plaintiff . . . [,]” Defendants also contend that the memo

 “undeniably reflects the agency’s opinions, analyses, and recommendations on

 how to adjudicate Plaintiff’s N-400[,]” which ultimately occurred on September

 14, 2017. (DE 16 at 23 (emphasis added), DE 1-1 at 21-26.) This is

 fundamentally distinct from the officers’ contemporaneous notes from the N-336


                                           13 
  
Case 2:18-cv-11089-AJT-APP ECF No. 26 filed 03/18/19                  PageID.317   Page 14 of 16




 interview, which are discussed above, and which appear to have occurred on the

 same date as the N-336 adjudication. Therefore, the Court disagrees with

 Plaintiff’s characterization that the June 21, 2017 memo “only contain[s] factual

 information about the Plaintiff, what was said during her [related June 15, 2017]

 interview, and what is contained in her alien file . . . .” (DE 17 at 5.) In addition,

 even if the memo contains some factual material, the Court has no reason to

 believe that the factual material could be meaningfully segregated from the

 deliberative information. See Moody, 2013 WL 3013862, at *3 (“factual material

 may be withheld when it ‘is so inextricably connected to the deliberative material

 that its disclosure would reveal the agency's decision making processes ... or when

 it is impossible to segregate in a meaningful way portions of the factual

 information from the deliberative information.’”) (emphasis added) (quoting

 Nadler v. U.S. Dep't of Justice, 955 F.2d 1479, 1491 (11th Cir. 1992), abrogated

 by U.S. Dep't of Justice v. Landano, 508 U.S. 165 (1993)).2



                                                             
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   In another portion of Nadler, the court held that “the sources who provided
 information to the FBI during the course of its investigation of Nadler, including
 the public official who first brought to the Government's attention the allegation
 that Nadler had accepted a bribe, were confidential sources.” Nadler, 955 F.2d at
 1487. Later, after acknowledging this portion of Nadler, the Supreme Court held
 that “the Government is not entitled to a presumption that a source is confidential
 within the meaning of Exemption 7(D) whenever the source provides information
 to the FBI in the course of a criminal investigation.” Landano, 508 U.S. at 181.
 Thus, it was abrogated on other grounds. 
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Case 2:18-cv-11089-AJT-APP ECF No. 26 filed 03/18/19       PageID.318      Page 15 of 16




       Finally, Plaintiff deposed Pryor on October 22, 2018, and thereafter served

 Pryor with five interrogatories on November 8, 2018. (DE 16 at 11-12, DE 16-5,

 DE 16-7; see also DE 14-1 at 12-16.) The joint statement notes that Plaintiff has

 received responses to interrogatories for Brandee Pryor. (DE 25 at 2.) Plaintiff

 does not appear to have served requests for admission. See Fed. R. Civ. P. 36.

 Thus, Plaintiff had an opportunity to question Pryor about any factual information

 in the July 21, 2017 memo. At the very least, Plaintiff appears to have

 underutilized her opportunity to get information about the memo by way of

 common discovery tools.

 II.   ORDER

       Upon consideration, Plaintiff’s motion to compel (DE 14), as narrowed in

 the joint statement of resolved and unresolved issues (DE 25), is GRANTED IN

 PART and DENIED IN PART. In accordance with the foregoing discussion, and

 within seven (7) days of the date of this order, Defendants shall serve upon

 Plaintiff a copy of the 4 pages of USCS N-336 Processing Worksheet Adjudicator

 interview notes without redaction (MARKO00236-239). Defendants need not

 serve copies of the other 20 pages at issue.

       IT IS SO ORDERED.

 Dated: March 18, 2019                  s/Anthony P. Patti
                                        Anthony P. Patti
                                        UNITED STATES MAGISTRATE JUDGE


                                           15 
  
Case 2:18-cv-11089-AJT-APP ECF No. 26 filed 03/18/19       PageID.319    Page 16 of 16




                               Certificate of Service

 I hereby certify that a copy of the foregoing document was sent to parties of record
 on March 18, 2019, electronically and/or by U.S. Mail.

                                        s/Michael Williams
                                        Case Manager for the
                                        Honorable Anthony P. Patti




                                          16 
  
